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                                                August 10, 2022



 Hon. U.S. Magistrate Judge Bruce E. Reinhart
 Paul G. Rogers Federal Building and U.S. Courthouse
 701 Clematis Street
 West Palm Beach, Florida 33401


 Re: Sealed search warrant(s) / 9:22-mj-08332 / 9:22-mj-08338


 Sent via email: reinhart@flsd.uscourts.gov


 Dear Judge Reinhart:

 I am writing this letter to respectfully request the unsealing of certain records that are on file with
 the clerk's office for the U.S. District Court of the Southern District of Florida.

 Upon information and belief, agents with the Federal Bureau of Investigation, through the United
 States Attorney's office, applied for and received a search warrant in connection with an
 investigation that involved the residence of Donald J. Trump in Palm Beach, Fla.

 On Aug. 8, 2022, a search was executed at the aforementioned residence, at 1100 South Ocean
 Boulevard, Palm Beach, Fla., by the FBI in plain sight of the public.

 In addition, Mr. Trump issued a public statement on Aug. 8, 2022, stating, in part: “These are
 dark times for our Nation, as my beautiful home, Mar-A-Lago in Palm Beach, Florida, is
 currently under siege, raided, and occupied by a large group of FBI agents. … After working and
 cooperating with the relevant Government agencies, this unannounced raid on my home was not
 necessary or appropriate.”

 The aforementioned search warrant(s) — and return documents denoting the items seized (once
 returned to the court) —are filed under seal with the U.S. District Court Clerk's office. I am
 filing this request seeking the unsealing request of these court records.

 As you may know, it is well settled in this Circuit and others that the public has a First
 Amendment and a common law right to inspect and copy judicial records. It has also been
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 widely settled in federal courts across the country that a district court's discretion to seal the
 record of judicial proceedings "is to be exercised charily," and that it is inappropriate to
 indefinitely seal a warrant affidavit.

 The Supreme Court has consistently recognized that the press and the public have a First
 Amendment right of access to criminal proceedings and records. Circuit courts also have broadly
 extended that right of access to legal documents and other court records, including pre-trial
 proceedings, filed in connection with criminal matters.

 In this case, the apparent subject of the search, Donald J. Trump, has full knowledge that the FBI
 searched his residence and that items, including business records and files, were seized. Federal
 authorities shared a copy of the search warrant with Mr. Trump’s attorney(s), who have stated
 publicly that the warrant referred to “classified information” and the “Presidential Records Act.”

 Given that the search warrant(s) have been executed, and the target of that search has full
 knowledge of what occurred, there is no impediment to any ongoing investigation from the
 disclosure of the search warrant order or the returns. As such, these records should be unsealed.

 Thank you in advance for your consideration of this request and I look forward to hearing from
 you.


                                                 Sincerely,

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